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 4   Fresno, California 93721
     Telephone: (559) 497-4000
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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          )       1:92-cr-5028 OWW
                                        )       (Originally Cr-F-92-5028 REC)
12                    Plaintiff,        )
                                        )       GOVERNMENT’S MOTION FOR
13         v.                           )       DISMISSAL OF INDICTMENT, AND
                                        )       ORDER THEREON.
14   SALVADOR DUARTE,                   )
                                        )
15                                      )
                      Defendant.        )
16                                      )

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18         Pursuant to Rule 48(a) of the Federal Rules of Criminal

19   Procedure, the government moves to dismiss the Indictment against

20   only the above-named defendant.        The above-named defendant has

21   been a fugitive since August 31, 1992, and is believed by the U.S.

22   Marshals Service to be at an unknown location in Mexico.           The U.S.

23   Marshals Service contacted the U.S. Attorney’s Office and

24   requested the filing of this motion.        The U.S. Marshals Service

25   also requests that the warrant for failure to appear in this case

26   be recalled.

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       Case 1:92-cr-05028-DAD Document 447 Filed 01/10/08 Page 2 of 2



 1   DATED: January 8, 2008                     Respectfully submitted,

 2                                              McGREGOR W. SCOTT
                                                United States Attorney
 3
                                                By/s/Dawrence W. Rice, Jr.
 4                                                DAWRENCE W. RICE, JR.
                                                Assistant U.S. Attorney
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 6                                      ORDER

 7         IT IS ORDERED that the Indictment in 1:92-cr-5028 OWW against

 8   only the above-named defendant is dismissed in the interest of

 9   justice and that the warrant for failure to appear in this case is

10   recalled.

11   IT IS SO ORDERED.

12   Dated: January 9, 2008                /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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